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 CONSENT TO BECOME PARTY PLAINTIFF
 -:s:;:.-:;\[3~~
 P11- f1'A 11=1J /"'' s




        By my signature below, I hereby authorize the filing and prosecution of claims in my name
 and on mybehalfto contest the failure ofDEFENDANT(S), EMPLOYER

                          ~T~fi*, ft~t#~~~ft~~•ft*R$~m~~-~~~
                                            MayFlower
 to pay me overtime wages andjor minimum wages as required under state andjor federal law
 including the Fair Labor Standards Act and also authorize the filing of this consent in the action( s)
 challenging such conduct.




  Yan. Jun Hui
  PARTY PLAINTIFF                                     Signature
                                                      ~i]




  Date
   BWJ




                                         Page 6 of6                    Initials - - - - - -
